                                                         Case 4:21-cv-03075 Document 153-6 Filed on 06/20/23 in TXSD Page 1 of 2



                                                         Fabric Banner
                                                         60" Wx 30"H                                                                   Edit Design
                              Remove   Koa
                                                   AG    Accessories: None
                                         (ELL
                                                         Edge Finish: Sewn Hem
                                                         Grommets: Every 2 ft
                                                                                                                                   | Duplicate Modify |
                                                                                                                                             &


                                                         Pole Pockets: None




                                                         Acrylic Sign
                                       Pe                                                                                              Edit Design
                              Remove
                                                         Drilled Holes Diameter: 3/8"
                                       Ef    TROJAN-EV
                                                         Drilled Holes Location: 4 Corners
                                                                                                                                   | Duplicate Modify |
                                                                                                                                             &

                                                         Edge: Polished
                                                         Print Surface: Second Surface

                                                                     / Rectangle
                                                         Shape: Square
                                                         Standoffs: 4 Corners
                                                         Thickness: 1/8"




                                                         Banner
                                                         60" Wx                                                                        Edit Design
                              Remove
                                       aT                Accessories: None

                                                         Edge Finish: Welded Hem
                                                         Grommets: Every 2-3 ft
                                                                                                                                   | Duplicate Modify |
                                                                                                                                             &



                                                         Pole Pockets: None
                                                         Printed Sides: Single Sided
                                                                                                      Trojan EV & GCC
                                                         Thickness: 13 oz Viny!
                                                                                                          DTX-9
                                                                                                         No 4:21-cv-03075
CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                                                                         TROJAN EV001828
                                               Case 4:21-cv-03075 Document 153-6 Filed on 06/20/23 in TXSD Page 2 of 2

                                       More Infoa



   Shipping Address                             Billing Address                           Item(s) Total                           $2,427.80
   Multiple Addresses                           None                                      Discount                                   -$242.78
                                                                                          Subtotal                                   $2,185.02
                                                Payment Method
                                                None
                                                                                          Tax                                         $180.25
                                                                                          Shipping & Handling                           $0.00



                                                                                          Order Total                            $2,365.29
                                                                                          Paid                                   $2,365.29
                                                                                          Balance Due                                   $0.00



                                            60" x 30" Banner
                                                                                                                    Reorder This Item
              ca               ante         Untitled




                                            60" x 30" Fabric Banner
                                                                                                                    Reorder This Item
              ba   ha ean te                Untitled




                                            11" x 8" Acrylic Sign
               #freowaney
                   butherized Dealer        Untitled
                                                                                                                 ¥ Reorder This Item




                                                                                                                                 &




                                                                                                                                                 ¥
CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                                                                    TROJAN EV001829
